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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION


 JENNIFER VANDERSTOK, et al.,

         Plaintiffs,                                    Case No. 4:22-cv-00691-O

    v.

 MERRICK GARLAND, in his official
 capacity as Attorney General of the United
 States, et al.,


         Defendants.


    SUPPLEMENT TO DEFENDANTS’ MOTION FOR CLARIFICATION OF THE
    SCOPE OF THE COURT’S PRELIMINARY INJUNCTION WITH RESPECT TO
        TACTICAL MACHINING’S PENDING CLASSIFICATION REQUEST

          In this Supplement to Defendants’ Motion for Clarification filed on September 15, 2022, ECF

No. 71, Defendants hereby advise that ATF will be able to complete its classification of the sample

that Tactical Machining, LLC, has submitted to ATF within two business days of receiving

clarification from the Court that the Preliminary Injunction does not prohibit ATF from proceeding

with the classification. ATF’s ability to complete this classification quickly, and the potential for the

classification to affect the scope and nature of this case, underscore that this Court should wait to rule

on Plaintiffs’ Motion to Expand the Preliminary Injunction until after the Court clarifies that the

Preliminary Injunction does not prohibit ATF from completing its classification and ATF completes

its classification.


DATED: September 16, 2022                                Respectfully submitted,

                                                         BRIAN M. BOYNTON
                                                         Principal Deputy Assistant Attorney General
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                                      /s/ Daniel Riess
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                                 CERTIFICATE OF SERVICE

       On September 16, 2022, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                                      /s/ Daniel Riess
